                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

United States of America,                        )
                                                 )
       Plaintiff,                                )
                                                 )
       v.                                        )          No. 10-00174-01-CR-W-DGK
                                                 )
Rodney J. Anderson,                              )
                                                 )
       Defendant.                                )

                                            ORDER

       Pending before the Court are Defendant’s Amended Motion to Dismiss Count Four of the

Indictment with Prejudice, or, in the alternative, Order the Government to Elect Prior to

Sentencing Upon Conviction of Multiple Counts on Grounds of Double Jeopardy and the

Cumulative Punishment Doctrine (Doc. 22) and Amended Motion to Dismiss Counts Two or

Four and Three or Four of the Indictment with Prejudice or, in the alternative, upon Conviction

of Said Counts, Order the Government to Elect Prior to Sentencing the Counts to Be Sentenced,

All Based on Grounds of Double Jeopardy and the Lesser Included Offense Doctrine (Doc. 23),

the Government’s responses (Docs. 26 & 27), United States Magistrate Judge Sarah W. Hays

Report and Recommendation recommending that the motions be denied (Doc. 33), the

Defendant’s objections to the Report and Recommendation (Doc. 34) and the Government’s

response to Defendant’s objections (Doc. 35).

       After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, it is hereby ORDERED that Magistrate Judge Hays’ Report and

Recommendation be ADOPTED. Defendant’s Motions (Docs. 22 & 23) are hereby DENIED.

       IT IS SO ORDERED




       Case 4:10-cr-00174-DGK           Document 37       Filed 06/03/11      Page 1 of 2
Date: June 3, 2011                    /s/ Greg Kays
                                      GREG KAYS, JUDGE
                                      UNITED STATES DISTRICT COURT




                                      2
       Case 4:10-cr-00174-DGK   Document 37   Filed 06/03/11   Page 2 of 2
